         Case 2:22-cv-01644-JMG Document 46 Filed 04/28/23 Page 1 of 4




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
JOSEPH SIMMONS,                                     :
                                                    :
                             Plaintiff,             :
                                                    :             Civil Action
                      v.                            :             No. 22-1644
                                                    :
CITY OF PHILADELPHIA, et al.,                       :
                                                    :
                             Defendants.            :


                                           ORDER

       AND NOW, this ______ day of _____________________, 2023, upon consideration of

the Motion for Leave to File a Reply Brief filed by Defendants City of Philadelphia and

Commissioner Blanche Carney, and any response thereto, it is hereby ORDERED that the

motion is GRANTED. The Clerk of Court is directed to file the Reply Brief attached to that

Motion as Exhibit A as of the date of the Motion.


                                                    BY THE COURT:




                                                    John M. Gallagher, J.
         Case 2:22-cv-01644-JMG Document 46 Filed 04/28/23 Page 2 of 4




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
JOSEPH SIMMONS,                                       :
                                                      :
                               Plaintiff,             :
                                                      :               Civil Action
                       v.                             :               No. 22-1644
                                                      :
CITY OF PHILADELPHIA, et al.,                         :
                                                      :
                               Defendants.            :
                                                      :


                     MOTION FOR LEAVE TO FILE A REPLY BRIEF

       Defendant City of Philadelphia, by and through undersigned counsel and in conformance

with this Court’s Policies and Procedures, hereby moves for leave to file the attached reply brief

in support of their motion to dismiss. In support of this motion, it is averred:

1. Defendants City of Philadelphia and Commissioner Blanche Carney moved to dismiss

   Plaintiff’s Third Amended Complaint on April 4, 2023. ECF No. 43.

2. In that Motion, Defendants argued that Plaintiff’s Third Amened Complaint failed to state a

   claim upon which relief could be granted Id.

3. Plaintiff has filed a response in opposition, in which he argues he has adequately plead the

   claims raised. Resp. in Opp., ECF No. 45.

4. Plaintiff’s arguments are insufficient to demonstrate adequate pleading under Ashcroft v.

   Iqbal, 556 U.S. 662, 678 (2009).

5. Plaintiff also raises a new theory of liability that is not plead in his Third Amended

   Complaint against Commissioner Carney.
         Case 2:22-cv-01644-JMG Document 46 Filed 04/28/23 Page 3 of 4




6. Since the filing of Defendants’ motion and Plaintiff’s response, a new opinion has been

   generated by a district court dealing with the same issues on point. Diaz v. City of Phila, No.

   22-cv-3286, --- F. Supp. 3d ---, 2023 WL 3011340, at *3–8 (E.D. Pa. Apr. 20, 2023)

7. Defendant seeks leave to file a brief reply in order to expand upon the deficiencies in

   Plaintiff’s Third Amended Complaint and to update the Court on the Diaz case, in which the

   Honorable Eduardo C. Robreno dismissed similar claims premised upon a theory of

   understaffing.

WHEREFORE, Defendant respectfully requests that the Court GRANT its motion and direct that

the Reply Brief, attached hereto as Exhibit A, be deemed filed.


Date: April 28, 2023                                 Respectfully submitted,

                                                     /s/ Kathryn Faris
                                                     Kathryn Faris
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                                                3
         Case 2:22-cv-01644-JMG Document 46 Filed 04/28/23 Page 4 of 4




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
JOSEPH SIMMONS,                                       :
                                                      :
                               Plaintiff,             :
                                                      :              Civil Action
                       v.                             :              No. 22-1644
                                                      :
CITY OF PHILADELPHIA, et al.,                         :
                                                      :
                               Defendants.            :
                                                      :


                                 CERTIFICATE OF SERVICE

       I hereby certify that on the date below Defendants’ Motion for Leave, attached exhibit,

and this Certificate of Service were filed via the Court’s electronic filing system and are

available for downloading.


Date: April 28, 2023                                  Respectfully submitted,

                                                      /s/ Kathryn Faris
                                                      Kathryn Faris
                                                      Deputy City Solicitor
                                                      Pa. Attorney ID No. 318580
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